                5:19-mj-00116-MCRI                    Date Filed 08/22/19          Entry Number 11        Page 1 of 1


AO 470 (Rev . 01/09) Order Schedu lin g a Detention Hearing




                                        UNITED STATES DISTRICT COURT
                                                                    for the
                                                          District of SOUTH CAROLINA

                   United States of America
                                   V.                                  )                                CIR 5:19-mj-l 16
                                                                       )          Case No.
                                                                       )
                 Mihirkumar Jayantibhai Patel                          )
                 FNU Patel a/k/a Eddie Patel                           )
                              Defendant


                                          ORDER SCHEDULING A DETENTION HEARING ~ A,e_\,"'1                                ,-,0.,,   \-\"',/1   ~

           A detention hearing in this case is scheduled as follows:

           US District Court
           90 I Rich land St
Place:                                                                        [courtroom No.:       8
           Co lumbia, SC

           Before: Magistrate Judge Shiva V. Hodges                           r
                                                                              Date and Time:
                                                                              L

        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date :         Aug 21., 2019




                                                                                    _ _Shiv~ V. Hodges,U.S. Magistrate Judg~e _ __
                                                                                                 Printed name and title
